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1    JOHN BALAZS, Bar #157287
     Attorney At Law
2    916 2nd Street, Suite F
     Sacramento, California 95814
3    Telephone: (916) 447-9299
     John@Balazslaw.com
4
     Attorney For Defendant
5    GARY ERMOIAN
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7
8                         IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                )   No. 1:08-cr-00224 OWW
12                                            )
                        Plaintiff,            )
13                                            )
           v.                                 )   STIPULATION AND ORDER
14                                            )
                                              )
15   GARY ERMOIAN, and STEPHEN                )   Post-Trial Motions/Sentencing Date:
     JOHNSON,                                 )   Date: November 29, 2010
16                                            )   Time: 1:30 p.m.
                                              )   Hon. Oliver W. Wanger
17                  Defendants.               )
     _______________________________
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           Defendant Gary Ermoian, through counsel, defendant Stephen Johnson, through
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     counsel, and the United States, through its counsel, hereby stipulate and request that the
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     Court continue the hearing on defendants’ post trial motions under Fed.R.Crim.P. 29
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     and/or 33 and sentencing from November 1, 2010 to November 29, 2010, at 1:30 p.m.
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     Defendants’ post-trial motions under Fed.R.Crim.P. 29 and/or 33 remain due on October
23
     15, 2010. The schedule for the presentence report and objections remain as currently
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     scheduled, except that the parties formal objections to the presentence report and/or
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     Sentencing Memoranda are now due November 22, 2010. U.S. Probation Officer Laurie
26
     McAnulty has been advised of this request to continue the sentencing date and has no
27
     objection.
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1          The primary reason for this request is that counsel for Ermoian has a vacation
2    scheduled from October 17 to November 2, 2010, and would need additional time to
3    prepare Sentencing objections and memorandum upon his return
4          Assistant U.S. Attorney Mark E. Cullers and attorney Carl Faller have agreed to this
5    request.
6                                                Respectfully submitted,
7          Dated: September 13, 2010
8                                                /s/ John Balazs
                                                 John Balazs
9
                                                 Attorney for Defendant
10                                               Gary Ermoian
11         Dated: September 13, 2010
12                                               /s/ Carl Faller
                                                 Carl Faller
13
                                                 Attorney for Defendant
14                                               Stephen Johnson
15
                                                 LAWRENCE G. BROWN
16                                               Acting U.S. Attorney
           Dated: September 13, 2010
17
18                                         By:   /s/ Mark E. Cullers
                                                 MARK E. CULLERS
19                                               Assistant U.S. Attorney
20   IT IS SO ORDERED.
21   Dated: September 14, 2010                 /s/ Oliver W. Wanger
     emm0d6                               UNITED STATES DISTRICT JUDGE
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